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14                       CENTRAL DISTRICT OF CALIFORNIA
                                   EASTERN DIVISION
15
16   ANTHONY FERGERSON,                    ) No. 5:21-cv-00963-E
                                           )
17                                         )
           Plaintiff,                      ) [PROPOSED]
18                                         ) JUDGMENT OF REMAND
                  v.                       )
19                                         )
     KILOLO KIJAKAZI,                      )
20   Acting Commissioner of Social         )
                                           )
21   Security,                             )
                                           )
22                                         )
           Defendant.                      )
23         The Court having approved the parties’ Stipulation to Voluntary Remand
24   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
25   (“Stipulation”) lodged concurrent with the lodging of the within Judgment of
26   Remand, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the
27   above-captioned action is remanded to the Commissioner of Social Security for
28   further proceedings consistent with the Stipulation to Remand.


     DATED:                           /s/ Charles F. Eick
                                           HON. CHARLES F. EICK
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